         Case 1:21-cr-00175-TJK Document 498 Filed 10/17/22 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

               v.                                        Case No. 1:21-cr-175-2-TJK

JOSEPH R. BIGGS, et al.,
               Defendants.

                 MOTION TO EXCLUDE TESTIMONY OF OREN SEGAL

                         This will not stand. This aggression will not stand.

                    ~ J. Lebowski, The Big Lebowski, Gramercy Pictures, 1998 (from
                      Pres. Bush, Aug. 5, 1990, comments on Iraqi invasion of Kuwait)


      Defendant Joseph Biggs moves the Court to exclude in its entirety the testimony of Oren

Segal, a long-time employee, and activist with the respected Anti-Defamation League. Mr.

Segal is expected to testify that the Proud Boys organization is a “white nationalist” or domestic

terrorist organization. Such testimony proffered by the government is not expert testimony under

Rule 702, F.R.E. Even if offered as rebuttal evidence, it is not technical, scientific, or even

specialized “knowledge” under Rule 702. It is simply political or cultural belief. Importantly,

the testimony also does not pass muster under any prong of the test of Daubert v. Merrell Dow

Pharmaceuticals Inc., 509 U.S. 579 (1993). Under Daubert, factors that may be considered in

determining whether a methodology is valid are: (1) whether the theory or technique in question

can be and has been tested; (2) whether it has been subjected to peer review and publication; (3) its

known or potential error rate; (4) the existence and maintenance of controlling standards; and

(5) whether it has attracted widespread acceptance within a relevant scientific community. Id. at

593-94. Under Rule 403, F.R.E., moreover, the probative value of the testimony -- even assuming

that it is relevant under Rule 401 -- is dwarfed by the danger of unfair prejudice. It would inflame,
         Case 1:21-cr-00175-TJK Document 498 Filed 10/17/22 Page 2 of 3




confuse and mislead any jury, especially one consisting of the good, well-meaning, change-the-

world-now, younger demographic residents of Washington, D.C. who in recent years have flooded

the city. The proffered testimony here is junk science and faux academia at its worst.

      The Court is referred to Mr. Segal’s qualifications, presented in testimony (provided by the

Department of Justice in this case) of a 2018 prosecution brought in a local Manhattan state trial

court, State of New York v. Kinsman and Hare, No. 4041/2018. In that case, two Proud Boys stood

trial in effect for successfully defending themselves (i.e., winning a fight unprovoked by them)

against members of Antifa, which had become increasingly violent in America. Each was

sentenced to four years in prison. Mr. Segal identified himself in that case as the “Director”

of the hopelessly sanctimonious sounding “Center on Extremism,” which is a unit of the ADL.

In the instant case, Mr. Segal’s job is obviously to poison both the jury and the record of this case

by painting Proud Boys as a narrow and malicious “white nationalist” or domestic terrorist group

instead of the fraternal organization focused on traditional ideas that have made it attractive to

some here and abroad. Permitting ADL activist Mr. Segal to testify would be no fairer than

permitting, say, George Will or (if he were alive) the late William F. Buckley, Jr. to weigh in on

groups like “Black Lives Matter,” Antifa or the Wobblies after drinks at the Cosmos Club’s grill.

Mr. Segal’s testimony must be excluded.

                                             Respectfully submitted,

Dated: October 17, 2022                      By: /s/ J. Daniel Hull
                                              JOHN DANIEL HULL
                                              D.C. Bar No. 323006/CA Bar No. 222862
                                              HULL MCGUIRE PC
                                              1420 N Street, N.W.
                                              Washington, D.C. 20005
                                              (202) 429-6520
                                              jdhull@hullmcguire.com

                                              COUNSEL FOR JOSEPH BIGGS
         Case 1:21-cr-00175-TJK Document 498 Filed 10/17/22 Page 3 of 3




                               CERTIFICATE OF SERVICE

      The undersigned certifies that on October 17, 2022, he served a true and correct copy of

the foregoing Motion to Exclude Testimony of Oren Segal upon all counsel of record via the

Electronic Case Filing (ECF) system.


                                            By: /s/ J. Daniel Hull
                                            JOHN DANIEL HULL
                                            D.C. Bar No. 323006/CA Bar No. 222862
                                            HULL MCGUIRE PC
                                            1420 N Street, N.W.
                                            Washington, D.C. 20005
                                            (202) 429-6520 office
                                            (619) 895-8336 cell
                                            jdhull@hullmcguire.com
